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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10    CASSANDRA GREEN,                        Case No. 5:21-cv-00319-JWH-KKx
11               Plaintiff,                   ORDER RE: JOINT STIPULATION TO
                                              DISMISS ENTIRE ACTION WITH
12         v.                                 PREJUDICE
13 THE CITY OF RIVERSIDE; OFFICER
   ESCOBEDO; OFFICER GRANT
14 GOOSELAW; AND DOES 1-10,                   Honorable District Court Judge
15               Defendants.                  John W. Holcomb
16                                            Honorable Magistrate Judge Kenly Kiya
                                              Kato
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                  ORDER RE JOINT STIPULATION TO DISMISS WITH PREJUDICE
     Case 5:21-cv-00319-JWH-KK Document 23 Filed 09/29/21 Page 2 of 2 Page ID #:143




 1          Having considered the parties’ joint stipulation to dismiss with prejudice, pursuant
 2    to Rule 41(a)(2) of the Federal Rules of Civil Procedure, it is hereby ORDERED:
 3          1.      Defendant THE CITY OF RIVERSIDE, CALIFORNIA is DISMISSED
 4    with prejudice from the entire case and all claims stated therein;
 5          2.      Defendant OFFICER ESCOBEDO is DISMISSED with prejudice from
 6    the entire case and all claims stated therein;
 7          3.      Defendant OFFICER GRANT GOOSELAW is DISMISSED with
 8    prejudice from the entire case and all claims stated therein;
 9          4.      Defendant DOES 1-10 are DISMISSED with prejudice from the entire
10    case and all claims stated therein;
11          5.      The First Cause of Action, Unreasonable Search and Seizure—Excessive
12    Force, stated in the Complaint is DISMISSED with prejudice as to all defendants;
13          6.      The Second Cause of Action, Unreasonable Search and Seizure—Denial of
14    Medical Care, stated in the Complaint is DISMISSED with prejudice as to all
15    defendants;
16          7.      The Third Cause of Action, Municipal Liability—Unconstitutional Custom
17    or Policy, stated in the Complaint is DISMISSED with prejudice as to all defendants;
18          8.      The Fourth Cause of Action, Municipal Liability—Failure to Train, stated
19    in the Complaint is DISMISSED with prejudice as to all defendants;
20          9.      The Fifth Cause of Action, Municipal Liability—Ratification, stated in the
21    Complaint is DISMISSED with prejudice as to all defendants;
22          10.     All parties agree to bear their own fees and costs incurred in the above
23    referenced case.
24          IT IS SO ORDERED.
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26    DATED: September 29, 2021
27                                                     John W. Holcomb
                                                       UNITED STATES DISTRICT JUDGE
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                    ORDER RE JOINT STIPULATION TO DISMISS WITH PREJUDICE
